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                        IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

                               Plaintiff,

vs.                                                                  CR. NO. 20-1370 KWR


JULIAN LUCAS GARCIA, III,

                               Defendant.

                  FIFTH UNOPPOSED MOTION TO CONTINUE TRIAL
                  AND MOTION TO EXTEND TIME TO FILE MOTIONS

       The Defendant Julian Lucas Garcia, III (“Mr. Garcia”), through his undersigned counsel,

respectfully moves the Court to continue the trial currently set for June 7, 2021, and to grant a

corresponding extension of time to file motions. As grounds for this motion, Mr. Garcia would

show the Court the following:

       1.       Mr. Garcia was indicted on June 9, 2020, on a single count of Assault Resulting in

Serious Bodily Injury, in violation of 18 U.S.C. §§ 1152 and 113(a)(6), Doc. 4. Undersigned

counsel was appointed to represent Mr. Garcia on June 18, 2020, Doc. 7. The government filed a

Superseding Indictment and added an additional count or charge to the indictment, to wit:

Operating an Off-Highway Vehicle on a Paved Street or Highway, in violation of §§ 12 and

NMSA 66-3-1011, Doc. 30.

       2.       This Court has granted four prior continuances of trial, Doc. 20, Doc. 28, Doc. 39,

and Doc. 47.

       3.       Previously, a continuance was necessary as both parties worked diligently to

locate and secure important and outstanding discovery in this case, specifically ambulance
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transport records, EMT, and Emergency Room treatment records pertaining to Mr. Garcia’s

transport from the accident scene and Emergency Room treatment. The service of subpoenas on

various hospital and medical providers was unsuccessful in producing all the requested records.

After enlisting the assistance of the Presbyterian Hospital, General Counsel’s Office, all

remaining records subject to subpoena were disclosed. Also, due to outstanding questions related

to Mr. Garcia’s treatment at Presbyterian Espanola Hospital, the government scheduled a pretrial

interview, on February 17, 2021, of Dr. Jordan Treworgy, Mr. Garcia’s Emergency Room (ER)

treating physician. The previously missing medical records and the case agent summary of the

Dr. Treworgy’s interview were disclosed to undersigned counsel on April 26, 2021.

       4.       All other previously outstanding discovery referenced in prior motions to continue

has been completed, including the recent completion of the defense retained accident

reconstruction investigation. As such, opposing counsel and undersigned counsel are now able to

engage in new phase of plea negotiations. Should the parties be unable to resolve this case by

way of a plea, opposing counsel, AUSA Alex Flores, has indicated that he may require additional

time to subpoena and secure the presence at trial of one or more witnesses who currently reside

out of state, including Dr. Jordan Treworgy.

       5.       Undersigned counsel requests additional time to carefully review the recently

disclosed discovery and to complete the new phase of plea negotiations initiated by the receipt of

new discovery, including the results of the defense retained accident reconstruction investigation.

       6.       To effectively represent Mr. Garcia and properly prepare his defense for trial or

negotiate an informed plea agreement, undersigned counsel requires additional time to review

the recently received discovery and results of the recently received, defense retained, accident

reconstruction report.

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       7.       Mr. Garcia is not in custody and has been fully compliant with his conditions of

release.

       8.       The constitution’s guarantee of effective assistance of counsel includes adequate

time to prepare for trial. Reversing the district court’s denial of a motion for continuance of trial,

the Eleventh Circuit spoke to this important principle:

       While we appreciate the heavy caseloads under which the district courts are
       presently operating and understand their interest in expediting trials, we feel
       compelled to caution against the potential dangers of haste, and to reiterate that an
       insistence upon expeditiousness in some cases renders the right to defend with
       counsel an empty formality. In our system of justice, the Sixth Amendment's
       guarantee to assistance of counsel is paramount, insuring the fundamental human
       rights of life and liberty. The Sixth Amendment stands as a constant admonition
       that if the constitutional safeguards it provides be lost, justice will not still be
       done.” Gideon v. Wainwright, 372 U.S. 335, 343, 83 S. Ct. 792, 796, 9 L. Ed. 2d
       799 (1963) (citation and quotations omitted).

       Implicit in this right to counsel is the notion of adequate time for counsel to
       prepare the defense: Disposition of a request for continuance … is made in the
       discretion of the trial judge, the exercise of which will ordinarily not be reviewed.
       But the denial of opportunity for appointed counsel to confer, to consult with the
       accused and to prepare his defense, could convert the appointment of counsel into
       a sham and nothing more than a formal compliance with the Constitution's
       requirement that an accused be given the assistance of counsel. The Constitution's
       guarantee of assistance of counsel cannot be satisfied by mere formal
       appointment. Avery v. Alabama, 308 U.S. 444, 446, 60 S. Ct. 321, 322, 84 L. Ed.
       377 (1940) (footnotes omitted) (emphasis added). This case presents an instance
       where a court, in its haste, denied compelling unopposed motions for continuance
       and in so doing eviscerated one of the Sixth Amendment's essential safeguards.
       As a result, justice has not been done.

United States v. Verderame, 51 F.3d 249, 252 (11th Cir. 1995). In sum, a continuance is

requested to allow undersigned counsel additional time to obtain and evaluate recently received

discovery and to have a full opportunity to effectively evaluate and negotiate an informed plea

agreement in this case. Missouri v. Frye, 566 U.S. 133 (2012).




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        9.       Given the possibility of a settlement of this cause, a continuance aimed at

avoiding an unnecessary trial and conserving judicial resources serves the purposes of the

Speedy Trial Act. See, Connolly v. United States, 2013 WL 530869 (D.N.J. 2013) (unpublished)

(waste of prosecutorial and judicial resources and delay in the trial of other cases is contrary to

the objectives underlying the Speedy Trial Act of 1974, 18 U.S.C. § 3161 et seq.); United States

v. Stanton, 94 F.3d 643, 1996 WL 465841 (4th Cir. 1996) (unpub'd) (“it is also clear that the

obvious reason the district court granted the motion was to conserve judicial resources by

avoiding potential piecemeal litigation, and this justified an ends of justice finding under

3161”); United States v. Stradford, 394 F. App’x 923, 927, 2010 WL 3622995 (3rd Cir. 2010)

(unpub'd) (affirming the grant of a continuance for several reasons including time to discuss plea

negotiations and the continuance would likely conserve judicial resources).

        15.      The requested continuance will not give rise to a Speedy Trial Act violation. The

additional time required by the continuance may properly be excluded under 18 U.S.C. §

3161(h)(7) on the ground that the ends of justice served by the continuance outweigh the best

interest of the public and the defendant in a speedy trial. In particular, failure to grant the

continuance would "deny counsel for the defendant [and] the attorney for the government the

reasonable time necessary for effective preparation, taking into account the exercise of due

diligence." 18 U.S.C. § 3161(h)(7)(B)(iv).

        16.      In consultation with opposing counsel, the parties seek a forty five (45) day

continuance of this case.

        17.      Opposing counsel, AUSA Alexander Flores, does not oppose the relief requested.

        WHEREFORE, Mr. Garcia respectfully moves this Court to vacate the trial setting of June 7,

2021, and to grant a corresponding extension of time to file motions.

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                                         Respectfully Submitted:

                                         By: /s/ Joe M. Romero, Jr.
                                         Joe M. Romero, Jr.
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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on the 9th day of May, I filed the foregoing electronically
through the CM/ECF system, and served the same to opposing counsel, AUSA Alexander Flores.

By:   /s/ Joe M. Romero, Jr.
      Joe M. Romero, Jr.




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